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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

BLACK WOLF CONSULTING, INC.              )
                                         )
            Plaintiff,                   )
                                         )
      vs.                                )                  Case No. 1:18-cv-00108
                                         )
AEU BENEFITS, LLC, AEU HOLDINGS, LLC, )
STEPHEN M. SATLER, an individual, STEVEN )
GOLDBERG, an individual, VERITAS HEALTH )
SYSTEMS ADMINISTRATOR AND                )                  JURY TRIAL DEMANDED
INSURANCE SERVICES, INC., VERITAS PEO )
LLC, CHARLES LAMANTIA, an individual,    )
JAMES D’IORIO, an individual, SD TRUST   )
ADVISORS, L.L.C. d/b/a SD TRUST ADVISORS )
LLC OR SD INVESTMENT ADVISORS LLC,       )
THOMAS B. STOUGHTON, an individual,      )
TALL TREE ADMINISTRATORS, LLC,           )
MARK SELMAN, an individual, BENEFIT      )
PLAN ADMINISTRATORS, INC., THOMAS        )
CARDWELL, an individual, AND DOES 1-10,  )
                                         )
            Defendants.                  )

             UNOPPOSED MOTION FOR EXTENSION OF PAGE LIMITATION
            FOR PLAINTIFF’S OMNIBUS MEMORANDUM IN OPPOSITION TO
                       DEFENDANTS’ MOTIONS TO DISMISS

       Plaintiff Black Wolf Consulting, Inc. (“Black Wolf”) hereby requests permission to file its

omnibus memorandum not to exceed 20 pages in response to Defendants’ separate Motions to

Dismiss Plaintiff’s Complaint.

       1.      Pursuant to Local Rule 7.1, Plaintiff’s response may not exceed fifteen pages.

       2.      Due to the number of defendants, and the number of issues raised in Defendants’

separate Motions to Dismiss, Black Wolf respectfully requests the Court for an Order granting

Black Wolf an additional five (5) pages (for a total of twenty (20) pages) for its Omnibus

Memorandum in Opposition to Defendants’ Motions to Dismiss.
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       3.      Defendants do not object to this extension of Black Wolf’s page limitation.

       WHEREFORE, Plaintiff, Black Wolf, requests that the Court enter an Order granting this

Motion, extending the page limitation for its Omnibus Memorandum in Opposition to Defendants’

Motions to Dismiss to a total of twenty (20) pages, and such other further relief as this Court deems

just and proper.

                                                              RESPECTFULLY SUBMITTED,

 BLACK WOLF CONSULTING, INC.                         DEFENDANTS

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